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 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10                                WESTERN DIVISION
11
      JASON K. DAVIS,                        ) Case No. 2:21-cv-07620-FMO (JDE)
12                                           )
                        Petitioner,          )
13                                           ) JUDGMENT
                         v.                  )
14                                           )
      B. KIBLER, Warden,                     )
15                                           )
                                             )
16                      Respondent.          )
                                             )
17                                           )
18
            Pursuant to the Order Accepting Findings and Recommendation of the
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      United States Magistrate Judge,
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            IT IS ADJUDGED that the petition is denied and this action is
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      dismissed with prejudice.
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23
24    Dated: May 31, 2022
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25                                             ______________________________
                                               FERNANDO M. OLGUIN
26                                             United States District Judge
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